             Case 1:19-cr-00841-RMB Document 24
                                             23 Filed 10/19/20
                                                      10/16/20 Page 1 of 1




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                                                                                October 16, 2020

Hon. Richard M. Berman
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

                                     Re:   United States v. Calvin Dubose
                                           Docket No.: 19-CR-841 (RMB)

Dear Judge Berman:

      I am counsel to Defendant Calvin Dubose. Mr. Dubose’s pretrial motions are due today,
October 16, 2020. I write to request a brief extension of time within which to file Mr. Dubose’s
motions to Monday, October 19, 2020.

       The reason for this request is that, while I have drafted the motions, I have not had an
opportunity to discuss the final content of the motions with Mr. Dubose. Because Mr. Dubose
remains incarcerated at the MCC New York, communicating with him remains constrained due
to ongoing conditions at the facility in response to the COVID-19 pandemic. The earliest that I
can facilitate a conversation with Mr. Dubose to get his final input on the motions is Monday.
Therefore, I am requesting this brief extension.

       I have spoken to the government, by AUSA Dominic Gentile, Esq., who consents to this
request.

          Your Honor’s consideration is greatly appreciated.

   Application granted.                                                Respectfully submitted,

                                                                       /s/ Edward V. Sapone
                                                                       Edward V. Sapone
Cc:       AUSA Dominic Gentile, Esq.




         10/19/2020
